Honorable D. Patrick (Pat) Ellis State Representative 402 Poplar Street Clinton, AR 72031
Dear Representative Ellis:
This is in response to your request for an opinion regarding certain excerpts from the minutes of the Stone County Quorum Court.  Your constituent, Mr. H.D. Taylor, has asked whether this constitutes a contract between him and Stone County.
Although there is some indication from an excerpt dated November, 1981 that a contract of some sort was entered into, the material attached to your request appears to be excerpted from Quorum Court minutes dating from 1981 through 1986. The minutes offer no clear indication of what has transpired over this period of years.  A determination in this regard will be based upon the parties' intent and will involve a review of all pertinent information including, but not limited to, the Quorum Court minutes.
While this office regularly addresses matters concerning the interpretation and application of State law, it seems clear in this instance that the question posed essentially involves a factual determination.  Factual questions are properly within the province of the judiciary, if the parties are unable to resolve any dispute.  We therefore suggest that Mr. Taylor seek the advise of counsel in this matter if a factual dispute does exist.
The foregoing opinion, which I hereby approve, was prepared by Assistant Attorney General Elisabeth A. Walker.